Case 1:20-cv-01630-RGA-JLH Document 102 Filed 02/09/22 Page 1 of 2 PageID #: 1805
Case 1:20-cv-01630-RGA-JLH Document 102 Filed 02/09/22 Page 2 of 2 PageID #: 1806




   FISH & RICHARDSON, P.C.                             PHILLIPS, MCLAUGHLIN & HALL, P.A.

   /s/ Jeremy D. Anderson                              /s/ John C. Phillips, Jr.
   Jeremy D. Anderson (#4515)                          John C. Phillips, Jr. (#110)
   222 Delaware Ave, 17th Floor                        David A. Bilson (#4986)
   Wilmington, DE 19801                                1200 North Broom Street
   302-652-5070                                        Wilmington, DE 19806
   janderson@fr.com                                    302-655-4200
                                                       jcp@pmhdelaw.com
   Attorneys for Plaintiffs Amarin Pharma, Inc.,       dab@pmhdelaw.com
   Amarin Pharmaceuticals Ireland Limited and
   Mochida Pharmaceutical Co., Ltd.                    Attorneys for Defendant
                                                       Health Net, LLC

   HEYMAN ENERIO GATTUSO & HIRZEL LLP

   /s/ Dominick T. Gattuso
   Dominick T. Gattuso (No. 3630)
   300 Delaware Avenue, Suite 200
   Wilmington, DE 19801
   302-472-7300
   dgattuso@hegh.law

   Attorneys for Defendants Hikma
   Pharmaceuticals USA Inc. and Hikma
   Pharmaceuticals PLC


  Dated: February 9, 2022




                 SO ORDERED this ___ day of February, 2022.



                                                       UNITED STATES DISTRICT JUDGE




                                                   2
